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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

         Plaintiff,

v.                                                             Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

         Defendants.

                              ORDER REGARDING DISCOVERY

         This matter is before the Court following its informal discovery conference held on October

8, 2021. See Doc. 222 (clerk’s minutes). The Court orders as follows:

     •   The forensic analysis expert shall complete his work within two weeks of receiving the

         devices. If, however, after receiving the devices, the expert discovers something usual, the

         parties may request a status conference to discuss a further extension. Such a request should

         be made within five days after the expert receives the devices; and

     •   Plaintiff’s October 11, 2021 deadline to file motions to compel is extended to October 25,

         2021.




                                                       Honorable Steven C. Yarbrough
                                                       United States Magistrate Judge
